 1   MICHAEL FILIPOVIC
     Federal Defender
 2
     ANN WAGNER
 3   Assistant Federal Defender
     Attorneys for Francis Schaeffer Cox
 4   FEDERAL PUBLIC DEFENDER FOR THE
     WESTERN DISTRICT OF WASHINGTON
 5
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                         IN THE UNITED STATES DISTRICT COURT
11                            FOR THE DISTRICT OF ALASKA
12
13    UNITED STATES OF AMERICA,                  )    No. CR11-022-RJB
                                                 )
14
                          Plaintiff,             )
15                                               )    UNOPPOSED MOTION TO
                    v.                           )    CONTINUE RESENTENCING
16                                               )
17    FRANCIS SCHAEFFER COX,                     )
                                                 )
18                   Defendant.                  )
     _______________________________             )
19
20          Francis Schaeffer Cox, through his attorneys, Federal Defender Michael
21   Filipovic and Assistant Federal Defender Ann Wagner, respectfully request that
22   Mr. Cox’s resentencing hearing, currently scheduled for May 30, 2019, be continued to
23   a date during the weeks of November 4, November 18, December 2, or December 9,
24   2019. Counsel for the government has advised undersigned counsel that he is
25   “amenable” to this continuance request and suggested a date in November 2019. It is
26   expected that a full day will likely be required for this sentencing hearing.


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 1          It is further requested that the final supplemental probation presentence report
 2   and recommendation be filed six weeks before any newly scheduled sentencing
 3   hearing, and that the parties’ sentencing memoranda and recommendations be filed four
 4   weeks before the scheduled sentencing date. A draft supplemental presentence report
 5   has been provided to the parties.
 6          The request for extending the schedule and continuing the sentencing date is
 7   based on the defense request for additional discovery, the Court’s discovery order, and
 8   the additional work the government’s needs to complete in order to respond. It is also
 9   based on continuing investigation by the defense and the schedules of counsel.
10          DATED this 18th day of March 2019.
11                                             Respectfully submitted,
12                                             s/ Michael Filipovic
                                               Federal Defender
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14                                             s/ Ann Wagner
                                               Assistant Federal Defender
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16                                             Attorneys for Francis Schaeffer Cox

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 1                              CERTIFICATE OF SERVICE
 2         I certify that on March 18, 2019, I electronically filed the foregoing document
 3   with the Clerk of the Court using the CM/ECF system. I further certify I mailed a copy
 4   of the motion to Francis Schaeffer Cox at FCI Terre Haute.
 5
                                              s/ Suzie Strait
 6                                            Paralegal

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